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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________

MICHAEL GARCIA,

                               Plaintiff,
                                                              9:12-CV-0924
v.                                                            (GTS/ATB)

R. FURNIA, Sgt.; Clinton Corr. Facility; and
DOES, Corr. Officials, Clinton Corr. Facility,

                        Defendants.
_______________________________________

APPEARANCES:                                                  OF COUNSEL:

MICHAEL GARCIA, No. 17182
 Plaintiff, Pro Se
Seneca County Sheriff’s Office
6190 State Route 96
Romulus, New York 14541

HON. ERIC T. SCHNEIDERMAN                                     ADRIENNE J. KERWIN, ESQ.
Attorney General for the State of New York                    Assistant Attorney General
  Counsel for Defendants
The Capitol
Albany, New York 12224

GLENN T. SUDDABY, United States District Judge

                                     DECISION and ORDER

       Currently before the Court, in this pro se prisoner civil rights action filed by Michael

Garcia (“Plaintiff”) against the above-captioned individuals (“Defendants”), are Defendants’

unopposed motion for partial summary judgment, and United States Magistrate Judge Andrew T.

Baxter’s Report-Recommendation recommending that Defendants’ motion be granted. (Dkt.

Nos. 30, 35.) Plaintiff has not filed an Objection to the Report-Recommendation (despite the

extension of the deadline by which to do so). (See generally Docket Sheet.) After carefully

reviewing the relevant filings in this action, the Court can find no clear error in the Report-
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Recommendation: Magistrate Judge Baxter employed the proper standards, accurately recited

the facts, and reasonably applied the law to those facts. As a result, the Court accepts and adopts

the Report-Recommendation for the reasons stated therein. (Dkt. No. 35.)

       ACCORDINGLY, it is

       ORDERED that Magistrate Judge Baxter’s Report-Recommendation (Dkt. No. 35) is

ACCEPTED and ADOPTED in its entirety; and it is further

       ORDERED that Defendants’ motion for partial summary judgment (Dkt. No. 30) is

GRANTED; and it is further

       ORDERED that Plaintiff’s Eighth Amendment claim that he was denied adequate

medical care by Defendants is DISMISSED; and it is further

       ORDERED that Pro Bono Counsel be appointed for the Plaintiff for purposes of trial

only; any appeal shall remain the responsibility of the plaintiff alone unless a motion for

appointment of counsel for an appeal is granted; and it is further

       ORDERED that upon assignment of Pro Bono Counsel, a final pretrial conference with

counsel will be scheduled in this action, at which time the Court will schedule a jury trial for

Plaintiff's Eighth Amendment claims of excessive force against Defendant Furnia. Counsel are

directed to appear at the final pretrial conference with settlement authority from the parties.

Dated: September 19, 2014
       Syracuse, New York




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